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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    LARRY McIVER,                   )            Civil No. 08cv1386 JAH(RBB)
                                      )
12                   Plaintiff,       )            NOTICE AND ORDER FOR EARLY
                                      )            NEUTRAL EVALUATION CONFERENCE
13    v.                              )
                                      )
14    PHS STORES, INC., dba BIG LOTS )
      #4267; WENMAR, LLC; STATE BROS. )
15    MARKETS, INC., dba STATE BROS. )
      MARKET #156,                    )
16                                    )
                     Defendants.      )
17                                    )
18    IT IS HEREBY ORDERED that an early neutral evaluation of your
19    case will be held on October 3, 2008, at 8:30 a.m. in the chambers
20    of United States Magistrate Judge Ruben B. Brooks, United States
21    Courthouse, 940 Front Street, Room 1185, San Diego, California.
22          Pursuant to Rule 16.1(c) of the Local Rules of the United
23    States District Court for the Southern District of California, all
24    parties, claims adjusters for insured Defendants and non-lawyer
25    representatives with full and unlimited authority1 to enter into a
26
            1
              "Full authority to settle" means that the individuals at
27    the settlement conference be authorized to fully explore settlement
      options and to agree at that time to any settlement terms
28    acceptable to the parties. Heileman Brewing Co., Inc. v. Joseph
      Oat Corp., 871 F.2d 648 (7th Cir. 1989). The person needs to have

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 1    binding settlement, as well as the principal attorneys responsible
 2    for the litigation, must be present and legally and factually
 3    prepared to discuss and resolve the case.             Corporate counsel shall
 4    not appear on behalf of a corporation as the party representative
 5    who has the authority to negotiate and enter into a settlement.
 6    Failure to attend or obtain a proper excusal will be considered
 7    grounds for sanctions.      (Where the suit involves the United States
 8    or one of its agencies, only counsel for the United States with
 9    full settlement authority need appear.)             (If Plaintiff is
10    incarcerated in a penal institution or other facility, the
11    Plaintiff's presence is not required and Plaintiff may participate
12    by telephone.    In that case, defense counsel is to coordinate the
13    Plaintiff's appearance by telephone.)
14          Plaintiff's(s') counsel shall give notice of the Early Neutral
15    Evaluation Conference to all defendants filing an answer after the
16    date of this notice.
17          All conference discussions will be informal, off the record,
18    privileged and confidential.       Absent good cause shown, if any
19    party, counsel, or representative fails to promptly appear at the
20    settlement conference, fails to comply with the terms of this
21    Order, including the failure to timely provide the settlement
22    conference memoranda WHEN REQUESTED, is substantially unprepared to
23    meaningfully participate in the settlement conference, or fails to
24
25    "unfettered discretion and authority" to change the settlement
      position of a party. Pitman v. Brinker Int'l, Inc., 216 F.R.D.
26    481, 485-86 (D. Ariz. 2003). The purpose of requiring a person
      with unlimited settlement authority to attend the conference
27    includes that the person's view of the case may be altered during
      the face-to-face conference. Pitman at 486. A limited or a sum
28    certain of authority is not adequate. Nick v. Morgan's Foods,
      Inc., 270 F.3d 590 (8th Cir. 2001).

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 1    participate in good faith in the settlement conference, the
 2    settlement conference may be vacated and sanctions may be imposed
 3    pursuant to Rules 16(f) and 37(b)(2)(B), (C), and (D), Federal
 4    Rules of Civil Procedure.
 5          Based upon the Court's familiarity with these matters and in
 6    the interest of promoting the just, efficient and economical
 7    determination of this action, the Court issues the following orders
 8    at this time:
 9          1.   All discovery shall be stayed in this case until the
10    completion of the early neutral evaluation conference;
11          2.   Twenty-one days prior to the currently set conference,
12    Plaintiff's counsel shall lodge (VIA FAX OR MAILED/HAND-DELIVERED
13    COPY) with Magistrate Judge Brooks's chambers and serve on opposing
14    counsel a statement, not in excess of five pages, including:
15               a.    An itemized list of the specific issues on the
16    subject premises which are the basis of the claimed violations
17    under the Americans with Disabilities Act;
18               b.    A statement of the amount and category of damages
19    claimed by Plaintiff in this action;
20               c.    The amount claimed for attorney's fees and costs;
21    and
22               d.    The Plaintiff's demand for settlement of the case in
23    its entirety.
24          3.   PLAINTIFF'S COUNSEL SHALL BE PREPARED TO PRESENT
25    DOCUMENTATION TO THE COURT, AT THE EARLY NEUTRAL EVALUATION
26    CONFERENCE, TO SUPPORT THE AMOUNT OF ATTORNEY'S FEES AND COSTS
27    CLAIMED FOR IN CAMERA REVIEW.
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 1          4.     After service of Plaintiff's statement and no later than
 2    fourteen days prior to the early neutral evaluation conference,
 3    counsel for the parties, and any unrepresented parties, shall meet
 4    and confer in person at the subject premises regarding settlement
 5    of (1) the alleged premise violations, and (2) damages, costs and
 6    attorney fee claims.        Plaintiff's counsel shall be responsible for
 7    making the arrangements for the conference.               The meet and confer
 8    obligation cannot be satisfied by telephone or the exchange of
 9    letters.     No later than seven days prior to the early neutral
10    evaluation conference, counsel shall lodge with Magistrate Judge
11    Brooks's chambers a joint statement certifying that the required
12    in-person conference between counsel has taken place and advising
13    the Court of the status of settlement negotiations and setting
14    forth all issues in dispute, including property issues, Plaintiff's
15    alleged damages, and the claim for attorney's fees and costs, along
16    with a description of any settlement demands and/or offers
17    exchanged.
18          In the event the case does not settle at the early neutral
19    evaluation conference, the parties shall also be prepared to
20    discuss the following matters at the conclusion of the conference:
21          1.   Any anticipated objections under Federal Rules of Civil
22    Procedure 26(a)(1)(E) to the initial disclosure provisions of
23    Federal Rule of Civil Procedure 26(a)(1)(A-D);
24          2.   The scheduling of the Federal Rule of Civil Procedure 26
25    (f) conference;
26          3.   The date of initial disclosure and the date for lodging
27    the discovery plan following the Rule 26(f) conference; and
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 1            4.      The scheduling of a case management conference pursuant to
 2    Federal Rule of Civil Procedure 16(b).
 3            The Court will issue an order following the early neutral
 4    evaluation conference addressing these issues and setting dates as
 5    appropriate.
 6            Questions regarding this case may be directed to the
 7    magistrate judge's research attorney at (619) 557-3404.
 8
 9    Dated:         September 5, 2008
                                                          RUBEN B. BROOKS
10                                                        United States Magistrate Judge
11
      cc:     All Parties of Record
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26    A Notice of Right to Consent to Trial Before a United States
      Magistrate Judge is attached for your information.
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 1                   NOTICE OF RIGHT TO CONSENT TO TRIAL BY UNITED STATES
                                       MAGISTRATE JUDGE
 2
 3         In accordance with the provisions of 28 U.S.C. § 636(c), you
      are hereby notified that a United States Magistrate Judge of this
 4    district may, upon the consent of all parties, conduct any or all
      proceedings, including a jury or non-jury trial, and order the
 5    entry of a final judgment. Consent forms are available in the
      Clerk's office. Counsel for the Plaintiff shall be responsible for
 6    obtaining the consent of all parties, should they desire to
      consent.
 7
           You should be aware that your decision to consent or not to
 8    consent is entirely voluntary and should be communicated solely to
      the Clerk of the Court. Only if all parties consent will the
 9    district judge or magistrate judge to whom the case has been
      assigned be informed of your decision.
10
           Judgments of the United States Magistrate Judges are
11    appealable to the United States Court of Appeals in accordance with
      this statute and the Federal Rules of Appellate Procedure unless
12    the parties at the time of their consent to trial before a
      magistrate judge agree upon review by the United States District
13    Court.
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      revised 9/03


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